Case 6:20-cr-00097-GAP-LRH Document 122 Filed 10/08/21 Page 1 of 2 PageID 565




                       UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

    UNITED STATES OF AMERICA

    VS.                                           CASE NO: 6:20-cr-97-GAP-LRH

    JOEL MICAH GREENBERG


                                   NOTICE OF HEARING

          TAKE NOTICE that a hearing on the Motion to Continue Sentencing

    (Doc. 121) will be held before the Honorable Gregory A. Presnell, United States

    District Judge, on MONDAY, OCTOBER 18, 2021, at 1:00 P.M. in Courtroom #5A,

    George C. Young United States Courthouse and Federal Building, 401 W. Central

    Boulevard, Orlando, Florida.

          No electronics shall be permitted inside the courthouse or courtrooms other

    than those allowed pursuant to M.D. Fla. Local Rule 7.02. Members of the press

    shall not be permitted to bring electronics into the courthouse or courtroom for

    this hearing.   This directive supersedes the Court’s prior order allowing

    members of the press to bring electronic devices into the courthouse and the

    courtroom (Doc. 95).

          This is an in-person hearing and remote access to the hearing will not be

    available. All inquiries regarding this case by any member of the press shall be
Case 6:20-cr-00097-GAP-LRH Document 122 Filed 10/08/21 Page 2 of 2 PageID 566




    directed to the Middle District of Florida’s Information Officer/Attorney Advisor

    Megan Mann at 904-549-1915.

          Due to the ongoing COVID-19 pandemic, social distancing in the courtroom

    will be maintained and masks must be worn at all times.             If an additional

    courtroom is available, it will be set up for viewing a broadcast of the hearing via a

    closed-circuit video feed.

          DONE and ORDERED in Chambers, Orlando, Florida on October 8, 2021.




    Copies furnished to:

    United States Marshal
    United States Attorney
    United States Probation Office
    United States Pretrial Services Office
    Counsel for Defendant




                                             -2-
